                                                 State of Wisconsin
                                                  Department of Corrections
                                   INMATE COMPLAINT HISTORY REPORT
                                                      by Date Received
                                           Inmate: 556607 - FLEMMING, JAYVON R.

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   Received Date         Complaint Number         Subject              Brief Summary
     11/26/2013          GBCI-2013-23345         25 - Psychology       blames others for his actions, believes he should have
                                                                       been tied down
     11/26/2013          GBCI-2013-23350         1 - Staff             complains of the actions of unnamed Officer
     12/03/2013          GBCI-2013-23511         1 - Staff             Inmate complains that he was being punished by being
                                                                       transferred to Observation after a suicide attempt.
     12/03/2013          GBCI-2013-23512         1 - Staff             Inmate complains that after making threats on his own
                                                                       life while in Observation status, the response of Dr.
                                                                       Breen had been inadequate and subsequently inmate
                                                                       inflicted injury upon himself.
     12/06/2013          GBCI-2013-23813         1 - Staff             Inmate complains of not being safe from harm by his own
                                                                       person.
     01/02/2014          GBCI-2014-291           25 - Psychology       Inmate complains of not being put on observation status,
                                                                       after which he cut himself.
     01/10/2014          GBCI-2014-1193          25 - Psychology       Inmate complains of not receiving proper treatment after
                                                                       he issued warnings to staff that he was going to hurt
                                                                       himself.
     01/10/2014          GBCI-2014-1187          4 - Medical           Inmate complains of being charged for medical co-pay
                                                                       twice for two different suicide attempts.
     01/23/2014          GBCI-2014-1976          15 - ICRS             Inmate complains of complaints not being filed and/or
                                                                       being received in the ICE office.
     01/23/2014          GBCI-2014-1977          15 - ICRS             Inmate complains of not getting a decision regarding
                                                                       already-filed complaints.
     01/27/2014          GBCI-2014-1934          4 - Medical           Inmate complains of medications not being crushed.
     01/30/2014          GBCI-2014-2648          15 - ICRS             Inmate complains of prior complaints not being
                                                                       processed.
     01/30/2014          GBCI-2014-2650          4 - Medical           Inmate complains of whole medications rather than
                                                                       crushed.
     03/14/2014          GBCI-2014-5380          1 - Staff             Inmate complains of staff not checking on his safety and
                                                                       well-being every 15 minutes as required by law.
     03/25/2014          GBCI-2014-6138          4 - Medical           Inmate complains of being denied treatment by Nurse
                                                                       Lutsey after allegedly swallowing a paper clip.
     04/08/2014          GBCI-2014-7080          4 - Medical           Inmate complains of RN Garland performing "inadequate
                                                                       medical treatment" after inmate swallowed a foreign
                                                                       object.
     04/11/2014          GBCI-2014-7356          1 - Staff             Inmate complains of security staff "assisting a suicide
                                                                       attempt" by inmate.
     04/11/2014          GBCI-2014-7361          1 - Staff             Inmate complains of staff's "unnecessary use of force" in
                                                                       extracting inmate from his cell at a time when inmate
                                                                       may have been exhibiting self-harm actions.
     04/14/2014          GBCI-2014-7359          1 - Staff             Inmate complains of staff not getting him medical
                                                                       treatment after he allegedly swallowed a metal object.
     04/14/2014          GBCI-2014-7355          25 - Psychology       Inmate complains of Dr. Zirbel not taking adequate steps
                                                                       to protect him from self-harm.
     04/25/2014          GBCI-2014-8258          4 - Medical           Inmate complains of "HSU assisting in a suicide
                                                                       attempt."
     04/25/2014          GBCI-2014-8259          4 - Medical           Inmate complains of "security staff and HSU conspiring
                                                                       to falsify government documents," denying inmate of his
                                                                       rights.
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     04/25/2014          GBCI-2014-8260          4 - Medical           Inmate complains of Dr. Sauvey refusing to give him
                                                                       adequate medical treatment, denying inmate of his
                                                                       rights.
     05/05/2014          GBCI-2014-8869          3 - Discipline        Inmate complains of not receiving a decision on appeal
                                                                       of disposition.
     05/15/2014          GBCI-2014-9570          1 - Staff             Complains that SEG staff did not do 15 minute checks on
                                                                       him while in OBS Status
     05/15/2014          GBCI-2014-9571          1 - Staff             Complains that SEG staff do not verify is he is taking his
                                                                       medications *Recoded to staff on 8/20/14*
     05/15/2014          GBCI-2014-9572          4 - Medical           Complains that his medications are not being crushed
     05/23/2014          GBCI-2014-10359         7 - Personal          Inmate complains that he didn't receive his property from
                                                 Property              JL Marcus.
     06/17/2014          GBCI-2014-11788         2 - Correspondence    The inmate complained about a magazine being denied.
                                                 & Publications
     06/17/2014          GBCI-2014-11789         12 - Other            The inmate complained about being sprayed with OC
                                                                       even though he had an open cut on his arm.
     06/25/2014          GBCI-2014-12417         4 - Medical           Inmate complains about be denied medical attention
     06/25/2014          GBCI-2014-12418         4 - Medical           Inmate complains about be denied medical attention
     06/25/2014          GBCI-2014-12419         4 - Medical           Inmate complains about be denied medical attention
     06/25/2014          GBCI-2014-12420         4 - Medical           Inmate complains about be denied medical attention
     07/01/2014          GBCI-2014-12788         25 - Psychology       Claims he is not getting proper PSU help
     10/31/2014          GBCI-2014-21467         6 - Personal        Transferred back to GBCI without treatment
                                                 Physical Conditions
     10/31/2014          GBCI-2014-21468         25 - Psychology     Not receiving mental health treatment
     11/13/2014          GBCI-2014-22337         25 - Psychology       GBCI doesn't offer adequate mental health treatment
     11/18/2014          GBCI-2014-22657         25 - Psychology       WRC denied him mental health treatment.
     11/25/2014          GBCI-2014-23125         7 - Personal          Missing magazines after observation placement
                                                 Property
     11/26/2014          GBCI-2014-23220         25 - Psychology    Dr. Harris-Forbes refused to put him in observation
                                                                    status
     12/08/2014          GBCI-2014-23918         2 - Correspondence Challenges the denial of Straight Stuntin' #33
                                                 & Publications
     12/16/2014          GBCI-2014-24477         25 - Psychology    Complains he's being denied mental health treatment
     01/02/2015          GBCI-2015-86            4 - Medical           Does not feel officers should pass medication
     01/02/2015          GBCI-2015-87            12 - Other            Complains that Ms. Heil does not make weekly rounds
     01/26/2015          GBCI-2015-1677          2 - Correspondence Complains of missing magazines
                                                 & Publications
     01/30/2015          GBCI-2015-1982          4 - Medical        Complains about the quality of medical care he received
     02/04/2015          GBCI-2015-2345          1 - Staff             Staff did not place him in observation upon request
     02/25/2015          GBCI-2015-3704          2 - Correspondence Complains money received as reimbursement was
                                                 & Publications     applied to restitution charges
     04/28/2015          GBCI-2015-7760          1 - Staff          staff lost his mail
     07/20/2015          GBCI-2015-13053         1 - Staff             Complains that third shift staff didn't place him into OBS.
     07/20/2015          GBCI-2015-13055         25 - Psychology       PSU staff didn't place him into OBS.

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     07/30/2015          GBCI-2015-13875         1 - Staff             Staff didn't place him into OBS
     07/30/2015          GBCI-2015-13876         1 - Staff             Officers didn't watch him take his medication
     09/14/2015          GBCI-2015-17123         7 - Personal          Complains that his TV is broke
                                                 Property
     10/05/2015          GBCI-2015-18605         17 - Inmate           Complains that medical copay loan was deducted from
                                                 Accounts              his refund
     10/22/2015          GBCI-2015-19754         1 - Staff             Staff failed to check on him when his window was
                                                                       covered
     10/22/2015          GBCI-2015-19753         1 - Staff             Staff did not place him in observation per his request
     02/22/2018          DCI-2018-4636           6 - Personal        Inmate complains the fan is sometimes turned on in unit
                                                 Physical Conditions 18.
     03/02/2018          DCI-2018-5227           7 - Personal        Inmate complains he went to RSH on 2/12/18 and the
                                                 Property            Property Officer refused to issue 12 photos on 2/14/18 as
                                                                     they were deemed nudity.
     08/02/2018          CCI-2018-16564          1 - Staff           01 - Alleges security staff failed to take reasonable
                                                                     measures to prevent him from harming himself on
                                                                     6/30/18.
     08/06/2018          CCI-2018-16817          24 - Staff          24 - Complains that CO Baker gave him a Sharpie
                                                 Misconduct          Marker during a shower while inmate was on
                                                                     observation.
     08/06/2018          CCI-2018-16819          25 - Psychology     25 - Inmate complains that Dr. Frisch saw him on 7-13-
                                                                     18 and Dr. Frisch did not report it.
     08/06/2018          CCI-2018-16822          6 - Personal        06 - Complains of staff failing to take measures to
                                                 Physical Conditions prevent inmate from harming himself on July 21, 2018.
     08/21/2018          CCI-2018-17879          4 - Medical         04 Alleges on 8/10/18 Nurse Gibbons didn't do anything
                                                                     about the amount of blood he lost.
     08/21/2018          CCI-2018-17880          1 - Staff           01 Alleges security staff on 8/10/18 failed to take
                                                                     reasonable measures to prevent him from self-harm.
     08/21/2018          CCI-2018-17881          1 - Staff           01 Alleges on 8/10/18 CO Coutley failed to do anything
                                                                     after he seen that he had cut himself.
     09/12/2018          CCI-2018-19481          1 - Staff           01 Alleges on 8/23/18 there was a delay with the nurse
                                                                     coming to treat his cut on his arm.
     09/12/2018          CCI-2018-19473          1 - Staff           01 Inmate held liquid med cup on 8/17/18 and alleges
                                                                     issue with staff.
     09/19/2018          CCI-2018-19965          12 - Other          12 Alleges his mail was returned for no reason.
     09/24/2018          CCI-2018-20270          1 - Staff             01 Alleges Sergeant Rohwer let him continue to cut
                                                                       himself on 9/14/18.
     11/14/2018          FLCI-2018-23680         7 - Personal          Inmate alleges his personal property was misplaced by
                                                 Property              security staff.
     05/13/2019          CCI-2019-8824           1 - Staff             01 Alleges on 4/5/19 staff failed to prevent him from self
                                                                       harm.
     06/10/2019          CCI-2019-10327          1 - Staff             01 Alleges issue with staff on 5/27/19.
     06/19/2019          CCI-2019-10912          25 - Psychology       25 Alleges on 5/27/19 that the on-call psychological staff
                                                                       failed to place him on obs after he harmed himself.
     06/19/2019          CCI-2019-10913          25 - Psychology       25 Alleges on 5/27/19 he was taken off of obs and
                                                                       placed in control status without speaking with a
                                                                       psychologist staff member.
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     08/02/2019          CCI-2019-13616          4 - Medical           04 Alleges medical staff left sharp metal objects inside
                                                                       his arm.
     09/16/2019          CCI-2019-16285          4 - Medical           04 - alleges nurse did nothing about metal stuck in arm
     09/16/2019          CCI-2019-16286          4 - Medical           04 - alleges doctor did nothing about the sharp metal in
                                                                       his arm
     02/26/2020          CCI-2020-3544           1 - Staff             01 *** - alleges security staff allowed him to engage in
                                                                       self harm
     03/04/2020          CCI-2020-3999           1 - Staff             01 *** - claims security staff failed to prevent self-harm
     04/27/2020          CCI-2020-7384           6 - Personal        06 Forced to sleep with his mattress on the floor.
                                                 Physical Conditions
     09/21/2020          CCI-2020-16242          1 - Staff           01 Alleges on 9/2/2020 security staff failed to call PSU
                                                                     after he made threats of harming himself.
     02/11/2021          CCI-2021-2431           7 - Personal        07 Alleges security staff misplaced his personal
                                                 Property            property.
     06/28/2021          DCI-2021-9874           6 - Personal        Inmate complains there were no emergency call buttons
                                                 Physical Conditions in his cell at CCI.
     06/28/2021          DCI-2021-9876           4 - Medical         Inmate complains he shouldn't have been placed in five
                                                                     point bed restraints due to medical conditions while at
                                                                     CCI.
     06/28/2021          DCI-2021-9875           25 - Psychology     Inmate complains he did not get sufficient mental health
                                                                     treatment at CCI.
     08/02/2021          DCI-2021-11645          7 - Personal        Inmate complains CCI misplaced his property and mail.
                                                 Property
     05/26/2022          WRC-2022-8131           2 - Correspondence Challenges denial of a magazine.
                                                 & Publications
     06/13/2022          WRC-2022-9237           7 - Personal        States property is missing after a transfer was cancelled.
                                                 Property
     09/20/2022          WRC-2022-14231          20 - Staff Sexual   Alleges sexual harassment by a staff member.
                                                 Misconduct
     01/03/2023          WRC-2023-88             1 - Staff           Alleges the use of excessive force.
     02/27/2023          WRC-2023-2909           1 - Staff             Alleges staff did not respond to his threats of self-harm.
     03/13/2023          WRC-2023-3617           2 - Correspondence    Alleges inadequate access to legal library while residing
                                                 & Publications        in high management.
     05/04/2023          WCI-2023-6526           7 - Personal          complains regarding contraband property
                                                 Property
     06/26/2023          WCI-2023-9377           6 - Personal          complains his cell does not have an emergency call
                                                 Physical Conditions   button
     08/15/2023          WCI-2023-12289          25 - Psychology       complains regarding not being seen by PSU
     09/05/2023          WCI-2023-13252          6 - Personal        complains regarding ventilation in cell
                                                 Physical Conditions
     09/13/2023          WCI-2023-13753          4 - Medical         complains regarding not being seen by HSU
     10/04/2023          WCI-2023-14913          22 - Dental           complains he is being denied dental care
     10/16/2023          WCI-2023-15498          12 - Other            complains regarding being denied law library

                                                      *** End of Report ***



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